      Case 2:21-cv-01421-ER Document 35 Filed 11/10/21 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEVEN JENKINS,                  :    CIVIL ACTION
                                 :    NO. 21-1421
          Plaintiff,             :
     v.                          :
                                 :
NORTHEAST TREATMENT CENTERS,     :
INC., ET AL.                     :
                                 :
          Defendants.            :

                                 ORDER

          AND NOW, this 10th day of November, 2021, upon

consideration of Defendants’ pending Motions to Dismiss (ECF

Nos. 27, 28) and Plaintiff’s Response (ECF No. 32), it is hereby

ORDERED that the pending Motions to Dismiss (ECF Nos. 27, 28)

are GRANTED. It is further ORDERED as follows:

          1. Count I is dismissed with prejudice.

          2. Counts II and III are dismissed without prejudice.

             Plaintiff is granted leave to amend as to Count II

             and Count III and shall file a third amended

             complaint by December 10, 2021.

          AND IT IS SO ORDERED.



                                 __________________________________
                                 EDUARDO C. ROBRENO, J.
